                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                     )         COLLIER/CARTER
                                             )
       v.                                    )         CASE NO. 1:14-CR-29
                                             )
DIONTRE DANFORTH                             )



                                           ORDER

       On June 16, 2014, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Count One of

the Indictment and the lesser included offense in Count Two of the Indictment, Aiding and

Abetting the Using, Carrying, and Brandishing of a Firearm During and in Relation to a Crime of

Violence, in violation of Title 18 U.S.C. §§ 2 and 924(c)(1)(A)(ii), in exchange for the

undertakings made by the government in the written plea agreement; (b) the Court adjudicate

Defendant guilty of the charges set forth in Count One of the Indictment and the lesser included

offense in Count Two of the Indictment; (c) that a decision on whether to accept the plea

agreement be deferred until sentencing; and (d) Defendant shall remain in custody pending

sentencing in this matter (Court File No. 40). Neither party filed an objection within the given

fourteen days. After reviewing the record, the Court agrees with the magistrate judge=s report and

recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s

report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

       (1) Defendant=s plea of guilty to Count One of the Indictment and the lesser included

offense in Count Two of the Indictment, in exchange for the undertakings made by the government

in the written plea agreement, is ACCEPTED;




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       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

Indictment and the lesser included offense in Count Two of the Indictment;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

and

       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

September 25, 2014, at 9:00 am.

       SO ORDERED.

       ENTER:

                                                   /s/____________________________
                                                   CURTIS L. COLLIER
                                                   UNITED STATES DISTRICT JUDGE




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